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                                 Reference:Case # 22-cv-81291

                                       22-cv-81294                       FiLED By M C                    D,c.
   Hon Aileen Cannoh
   United States DistrictCourt                                                SE? l! 2822
                                                                                   ANGEL.A E.NOBUE         '
   Southern DistrictofFL                                                      '   cLERK U.S.DIS'l:C'IL
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   W ilkie D.Ferguson Jr.Bqilding
   4OO NW 1 Avenue
   M iam i,FL 33128


   O'Rane M .Corni
                 sh,sr.
   3767 New GetwellRoad
   Memphis,TN38118                                       From Oneoftheéeople
                                                         steven A.Colon
                                                         91 North M ain Street
                                                         Lyndonville,NY 14098

   DearHonorable Judge Aileen Cannon;
   Attention Mr.O'Rane M .Cornish, Sr.

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                                         efouNtklèethàifhe'U.S.Zohbfi
                                                                    luïlb-i-lfth-è-b-upàerhe
   Law ofthe Land.This isfound inthe US Constitution and in US Courtprecedent. From
   httpsr//wwW.archives.gov/founding-docs/constitution :The Constitution acted Iike a colossal
    -    -



   merger,unitingagroujofstateswithdi
                                    fferentinterests,Iaws,andcultures.UnderAmerica's
  'firstnational government, theArticlesofConfederation,the statesacted togetheronlyfor
   specific purposes.The Constitution united itscitizens as membersofa whole, vesting the power
   ofthe union in the people.W ithoutit, the American Experim:ntmighthave ended as quickly as
   ithad begun.
   WethePeopleoltheUnitedStctcs)inOrderto/brm cmorepcrlectUnion)cstcàlishJustice
   insuredom esticTranqaility                                                       )
                              , providejorthecommondelencq promotithegenerclWeljare)
   andsecuretheBlessinqsojluibertytoonrselvescndourposterity,doordainandestablish
   thisConstftutfonjortheUnitedStcteso/Americc.
   - -
      preambletotàeUnitedStatesConstitution
   TheSuprèmacyClaqseoftheConstitutionoftheUnitedSlates(ArticleVI, Clause2)establishes
   thalthe Cbnstitution,federalIaws m ade pursuantto it
                                                    , and treati
                                                               es made underitsauthority,
  constitgtethe 'supreme Law ofthe Land'
                                       ', andthustake priorityoveranycontllctingstate Iaws.
  The Senators and Representatives before m entioned, and the m em bers ofthe
   severalstate Ieglslatures,and aIIexecutive and judicialoffjcers,both ofthe United
   States and ofthe severalstates, shallbe bound by oath or affirm ation, to support
  this Constitutioq; butno religlous testshalleverbe requïred as a quplification to
  any office orpublic trustunderthe United States.
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    https://w-wwsarchives,nov/m ilestone-docum ents/m arburv-v-m adison
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   ''A Law repugnantto the Constitution is void.' w ords written by ChiefJustice M arshallin the US
   Courtcase ofMarbury vs Madison.

   Honorable Judge Aileen Cannon;Attention M r. O'Rane M .Cornish,Sr.                 kj
   SeveralStates ofthe Union ran and certified unconstitutional2020 elections. This is a well
   docum ented fact.Courts,Secretaries ofStates and election com m issions aIIchanged their
   particularStates'2020 electionIaws.Anotherdocumented factis thatthese rogue Statesofthe
   Union violated theirparticularStates'laws regarding the running and certi
                                                                           fying ofthe 2020
   elections.Thentoaddinsultto injurythebad acting publicservantsusedtheUS Mailtohelp
   carry theirnefarious m ischief.
   Igive fudherNotice thaton January 20th, at12 noon the Coup D'etatthe Iastactofthe show
   was carried outand Intruders was placed in US O ffices ofTrust, Profitand Honor;Howeverthe
   Intruders Iack authority to carry outanything in the name ofthe United States.
   Adicles 1 & 2 ofthe US Constitution was notfollow ed therefore a Pseudo governm entwas
   established w ith NO AUTHO RITY to do anything. US Courtprecedentfound in M arbury vs
   M adison,Nunn vs GA,M iranda vs AZ , and m y personalfavorite Nodon vs Shelby County
   httDsr//supremeo'
    -   -            lustia.com/cases/federal/us/ll8/4zs/ :W hile acts ofa de facto incumbentofan
   offlce lawfully created by Iaw and existing are often held to be bindingfrom reasonsofpublic
   policy,the actsofa person assuming to filland perform the duties ofan officewhich does not
   existdejure can haèe no validity whatever flllaw.An unconstitutionalactis nota
   Iaw i-itconfers no 'rights;it-im poses no 'duties;it-affords no protectioni-it-creates---
    no office;itis in Iegaloontem plation as inoperative as though ithad neverbeen
   passed-
    Igive Notice to you DearHonorable Judge Aileen Cannon;And Notice to you M r. O'Rane M .
   Cornish,sr...Donald J.Trum p is STILL the Consti  tutionallawfulPresidentofthe United States,
   He did notconcede orresign. lwagerhe can prove he actually won the 2020 elections.            '


   lgive Notice to you Honorable Judge Aileen Cannon thatStare Decisiswasestablished and
   the Presidentwaswronjed by manyotherUS Courts. Stare Decisis wasestablished by US
   Coud cases https://suprem e.'lustia.com /cases/federal/us/l46/l/ M cpherson v. Blackerand
   Bush vs G ore.


   Bestregards                     #
                                           # ' ..M                 %& lzt

                                  Steven A .Colon
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